                          Case 4:23-cv-04155-YGR                                         Document 427-2                                          Filed 11/06/24                                        Page 1 of 2

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                     DOB:         HM /IG/IZ,                             USMS NUMBER                                       "T6FOE-SOJ,                                   SSH XXX-XX-XXXX
                     JE          ADDITIONAL                         WFORMATION                                    IS REQUIRED,                                                   PLEASE                       CONTACT me
        \            AT          THE        ADDRESS                       BELOW,

                                                                76805-5094
                                                                         John Bellhouse
                                                                         Federal Correctional Institution
                                                                         P.O. BOX 5000
                                                                         Oakdale, LA 71463-5000
                                                                         United States




                     THANK               YoU We ADVANGE FOR                                                  YOUR TIME AND                                                       corns DERATIgn
                      ‘OF MY              REQUEST.                                                                               |                mo,
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                                  Also Note,                    if the              timeperiod                    to respond                               exceeds.
                                  the     20 days                your      agency                    has     to respond,                                   the 100                        |
                                  page,         2 hr             limit              is WAIVED and you must prov-
                                  ide copies                    of ALL              documents: related                                       to this
                                 ‘request. -(see: FOIA Regulations.5 §552 (4). (a)
                                  (viii) (II)                                                                                                                                                                      .
                                  Kind Regards,                                           Russe Bew rouse
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